Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 1 of 41

EXHIBIT 10
Case 10l-cv-12257-PBo Document 6208-11 Filed 06/29/09 Page 2 of 41 ft
> A-cB. 94 ;
8 9 Ss 00 0 ” 0 [ 5

CHANGES TO THE MEDICAID PRESCRIPTION
DRUG PROGRAM COULD SAVE MILLIONS

EXHIBIT

PENGAD 800-631-6989 a

ERVIC,
r® ‘Su,
x : 4
=
&
Ee
ond
<
a
=
‘o
<.

OFFICE OF INSPECTOR GENERAL

OFFICE OF AUDIT

Audit Control Number 06-40216

WS
st

HHD021-0076

AP.
Case 1:01-cv- Bess BS Socumnent 6268 9, Filed 06/29/09 Page 3 of 41
TABLE OF CONTENTS

te Page
INTRODUCTION 1
Background 1
Scope of Audit 2
OVERVIEW OF THE PROBLEM AND IMPROVEMENTS NEEDED 3
DISCUSSION OF FINDINGS 6
MOST OF NATIONWIDE DRUG REIMBURSEMENT IS
STILL BASED ON AWP 6
PROVIDERS' DRUG INGREDIENT COSTS ARE
MUCH LOWER THAN AWP 9
PURCHASES DIRECT FROM MANUFACTURERS 10
PURCHASES FROM WHOLESALERS . 11
SIGNIFICANT COST SAVINGS ARE POSSIBLE 14
PILOT REVIEW IN ARKANSAS 14
NATIONWIDE SAVINGS POSSIBLE 15
DRUG PRICING ASSISTANCE PROVIDED BY HCFA
CAN BE IMPROVED 17
STATES ARE INTERESTED IN POTENTIAL
DRUG PROGRAM SAVINGS 20
CONCLUSIONS 22
RECOMMENDATIONS 23
HCFA RESPONSE AND OIG COMMENTS 24
SCHEDULE I -

SCHEDULE OF PRESCRIPTION DRUG PAYMENTS AND
COMPUTATION OF POTENTIAL SAVINGS

SCHEDULE II -
SCHEDULE SHOWING PRESCRIPTION DRUG PAYMENTS
IN STATES WHICH PRIMARILY ESTABLISH THEIR
REIMBURSEMENT LIMITS BASED ON AWP

SCHEDULE III -

. SCHEDULE SHOWING PRESCRIPTION DRUG PAYMENTS
IN STATES WHICH USE AWP ALONG WITH CERTAIN
COST CONTAINMENT MEASURES IN ESTABLISHING
THEIR REIMBURSEMENT LIMITS

SCHEDULE IV -
SCHEDULE SHOWING DIFFERENCE BETWEEN AWP AND
PRICES GENERALLY PAID BY PHARMACIES FOR
SAMPLE DRUGS IN ARKANSAS

SCHEDULE V -
SCHEDULE SHOWING DIFFERENCE BETWEEN AWP AND
PRICES GENERALLY PAID BY PHARMACIES FOR
SAMPLE DRUGS IN OTHER FIVE STATES

APPENDIX -
HCFA'S COMMENTS ON THE OIG DRAFT AUDIT REPORT

HHD021-0077
Case 1 Gre 1225 PI BS. Aacune 6208-11 Filed 06/29/09 Page 4 of 41
Wor BF BYPRODICTION ,

BACKGROUND

Medicaid -- authorized by Title XIX of the Social Security Act -- is a grant-
in-aid program under which the Federal Government is currently paying from
50 to 78 percent of the costs incurred by states in providing medical services
to persons unable to pay for such care. Certain medical services are
required to be provided by the Act while others, such as prescription drugs,
may be included in the program if a state so chooses. All 50 states now have
a Medicaid program, and all except two states have elected to cover pre-
scribed drugs. The Medicaid program is administered at the Federal level by
the Health Care Financing Administration (HCFA) of the Department of Health
and Human Services (HHS).

Under the present Federal regulations covering Medicaid reimbursement for
drugs (42 CFR 447,331-.334), the State Medicaid agencies may not pay more
for prescribed drugs than the lower of ingredient cost plus a reasonable
dispensing fee or the provider's usual and customary charge to the general
public.

The ingredient cost of a prescription drug is defined as the lower of (1) the
maximum allowable cost (MAC) as established hy the HHS Pharmaceutical
Reimbursement Roard for certain multiple-source drugs or (2) the estimated
acquisition cost (EAC) of the drug. The MAC provision which was designed
to take advantage of the price differentials between brand name drugs and
lower-priced generic equivalents, limits ingredient cost reimbursement to the
less expensive generic equivalent price.

Specifically, the regulations state that EAC means the State Medicaid agency's
“best estimate of what price providers generally are paying for a drug." The
regulations further state that "the basis for the estimate must be the package
size providers buy most frequently.” EAC reimbursement limits must be
established for all drugs, both single and multiple-source {even if the drug
has a MAC), ~_

HCFA has allowed the states considerable latitude in the design and adminis-
tration of their Medicaid drug program; particularly in the development and
use of their EAC limits. Currently, State Medicaid agencies utilize various
methodologies in determining EAC. The most commonly used method is based
on published average wholesale prices (AWP). Some states, however, along
with AWP use direct manufacturer's prices, state established MAC prices, and

other methods to contain costs for certain drugs.

- For the vear ended December 31, 1982, the prescription drug program
expenditures amounted to about $1.7 billion nationwide (Federal share about

$900 million).

OOGULS

G~

HHD021-0078
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 5 of 41

SCOPE OF AUDIT CAV: 0. ty @

=
Our review was made in accordance with generally accepted governmental]
auditing standards pertaining to economy and efficiency audits. The primary
objective of our review was to determine the effectiveness of HCFA's present
EAC requirements in limiting reimbursement for prescription drugs to reason~
able levels.

Audit effort was performed in two phases. During the first phase, we per-
formed a‘ detailed review related to the economy and efficiency of the EAC
program in the State of Arkansas. In addition, we gathered data from State
Medicaid agencies regarding prescription drug reimbursements in 45 other
states and the District of Columbia (hereinafter referred to as a State or
State Medicaid agency). During the second phase of our review, we per-
formed additional fieldwork in five other states -- Massachusetts, North
Carolina, Michigan, Colorado and Oregon. These states were selected primar-
ily based on their geographical location.

Our fieldwork under the first phase of the review included work at the
Arkansas Department of Human Services, as well as an examination of 2,086
purchase invoices for 38 sampled drugs at 60 pharmacies scattered throughout
the State. In selecting the pharmacies, we considered (1) the amount of
Medicaid payments received, (2) whether they were part of chains or inde-
pendently owned, (3) their geographic location within the state, and (4) the
size of the town in which they were located (covering both smal] and large).
With regard to the drugs selected, our analysis showed that 345 drugs
accounted for about 75 percent of the dollar volume of the Arkansas drug
program. Out of those 345, we selected 38 drugs for our sample,
Subsequently, however, one of our selected drugs was recalled by the
manufacturer and another was put on the Department's list of ineffective
drugs. AS a result, we reduced our sample to 36 drugs for our fieldwork in
the additional states.

During the second phase of our review, fieldwork was performed at State
Medicaid agencies and 48 provider pharmacies in five additional states
(Massachusetts - 9, North Carolina - 10, Michigan - 9, Colorado - 10, and
Oregon - 10). The criteria for selecting the providers in these states was
generally the same as used.in Arkansas. At the additional State Medicaid
agencies, we determined the procedures for establishing EAC, as well as the
EAC for each of the 36 sample drugs. At the pharmacies, we obtained the
prices actually paid for each of the 36 drugs purchased in order to determine
whether the variances between actual prices paid by providers and AWP,
found in Arkansas, were prevalent on a nationwide basis.

-2- ODOO1L5

HHD021-0079

>
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 6 of 41
CIN: £-9%. 94.9904 Q

OVERVIEW OF THE PROBLEM AND IMPROVEMENTS NEEDED 4

Excessive payments are. being made nationwide for the ingredient cost of
prescription drugs under the Medicaid program. The purpose of this report
is to alert Departmental management officials to the opportunity for significant
reductions in program expenditures if actions are taken to stop the present
widespread use of average wholesale prices (AWP) in determining program
reimbursement for prescription drugs. Currently, most states use AWP as
the upper reimbursement limit for drugs -- approximately 80 percent, or
about $1.3 billion, of the total annual Medicaid drug expenditures ($1.7
billion) are reimbursed with AWP serving as the upper reimbursement mit.
Within the pharmaceutical industry, AWP means non-discounted Nst price.
Pharmacies purchase drugs at prices that are discounted significantly below
AWP or list price. Because of the widespread use of AWP by State Medicaid
agencies, however, the Medicaid program does not receive any benefit from
these discounts. We estimate that as much as $128 million ($72 million Federal
share) could be saved annually through changes in program policy and regu-
lations which would restrict the use of AWP as an upper limit in drug
reimbursements. We believe that Federal savings over the next five years
could amount to at least $360 million.

The need for cost containment action by HCFA seems particularly appropriate
at the current time. In June 1983, the Secretary established a special Task
Force to review the reimbursement methods used for prescription drugs
purchased under Federally-assisted health care programs. We believe that
the issues discussed in this report and the recommendations made will be of
value to the Task Force.

The use of AWP in determining Medicaid reimbursement for drugs has been a
problem that HCFA has recognized for some time. However, efforts to date to
control the problem have not been successful. HCFA has periodically
supplied State Medicaid agencies with invoice price level data designed to
assist them in evaluating their Estimated Acquisition Cost (EAC) limits.
However, the data supplied has not been an adequate substitute for AWP and
mav have been counterproductive since the amounts furnished have often been
very similar to the AWP for individual drugs. The statistics gathered by
HCFA are based on drug prices, shown on invoices. These prices are
generally list prices and do not reflect any purchase or trade discounts
received when payments are made by the pharmacies.

HCFA believed that published AWP was too high and, therefore, the purpose
of the EAC requirement in the regulations was to move states away from using
AWP as the upper limit for reimbursing drug ingredient cost. However, the
states have been allowed a great deal of latitude in establishing their EAC
programs, and most states continue to use AWP as their upper reimbursement
limit. Our fieldwork in the six states and inquiries in 41 additional states
disclosed that 27 states primarily use AWP in establishing their reimbursement
limits. The remaining 20 states use AWP to a great extent, but also use
other techniques in establishing their © EAC which result in lower
reimbursement limits for certain drugs.

HHD021-0080

oe
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 7 of 41
Case 1:01-cv-1828%-PBS-- Documeiit:620810 Filed 06/29/09 Page 8 of 41 (1
Our review in the six states showed that pharmacies rarely purchased the
sample drugs at the published AWP. In fact, of the 3,469 drug purchases
that we examined, only 14 purchases (.4 percent)» were made at AWP or
greater. (These 14 purchases were generally made only because of extenvat-
ing circumstances, such as special fill-in orders where discounts were not
given because only one item was purchased.) Most of the purchases -- 3,455
(99.6 percent) -- were made at prices averaging about 16 percent below AWP,
These drug purchases ranged from as little as .23 percent below AWP to as
much as 42 percent below AWP.

We found that neither the location nor size of the towns in which the phar-
macies were located, nor the types of ownership, affected the availabilitv o:
the discounts. Purchase discounts were available and were taken by phar-
macies in all areas of the selected states, regardless of population, by hott
chain-owned and independently-owned pharmacies.

Although we found that drug purchases were made at prices averaging about
16 percent below AWP, it must be recognized that drug sales are competitive
and many pharmacies bill the Medicaid program for less than AWP (for drug
ingredient cost) plus the designated dispensing fee. Thus, the provider
Dharmacy's usual and customary charge (UCC) to the general public is an
important limiting factor and must be considered when quantifving the effect
of State Medicaid agencies using AWP in their drug pricing files. After
considering the effect of UCC on payments for our sample drugs, we estimate
that about 11 percent of the Medicaid drug reimbursement is in excess of cost
plus dispensing fees in those states using AWP as an upper limit for
reimbursement. :

Of the estimated $1.3 billion that was reimbursed using AWP, approximately
$735 million was paid in 27 states using AWP almost exclusively in establishing
their EAC. We believe that about 11 percent, or $81 million of these
expenditures were unnecessary. The remaining 20 states had expenditures of
about $590 million based on AWP: however, these states had already avoided
sizeable excess payments through the use of cost containment techniques in
their EAC programs. As a result, onlv about 7.9 percent, or $47 million of
their expenditures are estimated as unnecessary.

Some states had developed cost containment measures for a number of drugs
which resulted in lower payment limits. The most notable of these methods
involved the use of state MAC svstems for both name-brand and generic
drugs (application of the Federal MAC approach to a large number of drugs
statewide) and the use of direct purchase EAC data based on the direct
manufacturers' prices for drugs generally purchased direct from manu-
facturers. We believe that the methods used hv some states to contain drug
reimbursement costs, should be considered as potential "best practices” bv
HCFA, and used as guidance in improving the Federal criteria for controlling
Medicaid reimbursement for prescription drugs.

In light of the significant program savings that can be realized by both the
States and the Federal Government, we are recommending that the

Administrator, HCFA, revise current policy and regulations to provide for
better controls over Medicaid drug reimbursement. We are also recommending

DUDOLS

HHD021-0081
Case 1:01-cv-12257:PBS - Document 6208-4 Filed 06/29/09 Page 9 of 41 ’
that the Administrator improve the information furnished State Medicaid *
agencies to assist them in evaluating their drug reimbursement limits. The
-actions proposed in this report (see page 23) are designed to restrict the use
of AWP as an upper reimbursement limit and move states toward the use of
drug pricing methods which will more closely approximate the prices phar-
macies generally are paying for drugs.

The Administrator generally agreed with the findings in this report. She
expressed concerns about some of our specific recommendations, but agreed
that there is an opportunity to significantly reduce program expenditures in
this area. The Administrator also stated that HCFA is not prepared to
recommend any changes in the Federal regulations until the Secretary makes a
decision regarding the findings of the special Task Force appointed to review
the existing prescription drug regulations. While we recognize that the
findings and recommendations of the Secretary's Task Force have not been
finalized, we believe that HCFA can and should move forward at this time
with certain actions which the Administrator acknowledges should be taken to
provide greater assistance to the states in improving their controls over
Medicaid drug reimbursement. (A more detailed discussion of HCFA's
response and our comments are presented on page 24.)

OU0GL3
“

HHD021-0082
se

CM A-28 Diao MIAO

@
:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 10 of 41
Case 1:0l-ev-12 DISCUSSION OF FINDINGS

MOST OF NATIONWIDE DRUG REIMBURSEMENT IS STILL BASED ON AWP

Although the purpose of the EAC regulations was to move states awav from
using published AWP as a basis for establishing drug reimbursement limits,
that goal is far from being achieved. Our fieldwork in six states and
inquiries in 41 additional states indicated that the majority of EAC reimburse-
ment limits are still being based on published AWP, On the basis of exnendi-
ture information provided by State Medicaid agencies during our inquiries, we
estimated that the reimbursement limits for about 80 percent, or $1.3 billion
of the $1.7 billion annual expenditures for Medicaid prescription drugs were
based on AWP -- j,e., non-discounted list prices.

We found that 27 states still use AWP almost exclusively in establishing their
EAC. The other 20 states based their EAC limits to a great extent on AWP;
however, these states also used other techniques to estahlish more economical
reimbursement limits for many drugs provided under their programs. The
most common practices involved setting the FAC at the direct price offered by
selected manufacturers and using state established MAC limits on multi-source
Grugs not covered by the Federal MAC program.

In the six states where we performed our fieldwork, most of the drug reim-
bursement was based on AWP upper limits. The following table summarizes
the methodologies most commonly used by these states in establishing their
upper reimbursement limits for our sample drugs.

Methodologies Used To Establish
Reimbursement Limits for Sample Drugs

Ark. Col. Mass. Mich. N.Car. Oreg. Total

Average Wholesale

Price 38 12 27 31 35 14 164
Direct Price 4 7 18 29
State MAC 11 4 15
Non-Covered Drugs __ 2 2 3 J __ _10

Totals 98 36 «368 3638 8K

As can be seen, in 164 instances (75 percent) the upper limits for the drugs
in our’ sample were based on AWP, In another 29 instances (13 percent) the
limits were based on manufacturers’ direct prices; while in 15 instances (7
percent) the limits were set using state MAC limits based on generic
equivalent prices. - ,

While the states sometimes obtain their AWP data from different sources, we
found that the AWP figures used for specific drugs did not. differ materially.
Arkansas, Michigan and Oregon used the AWP published in the "American
Druggist Bluebook", while Colorado and North Carolina used AWP data
published in the "Drug Topics Redbook", Massachusetts used the AWP shown
in a publication titled "Medi-Span, Inc. - Hospital Formulary Pricing Guide."

OG0R25

HHD021-0083

fs
Case 1:01-cv-1225%PBS.-.Document 6208-1¢ {ile 06/29/09 Page 11 of 41

Three of the states visited -- Massachusetts, Oregon and Colorado -- \. ,
establish EAC for certain drugs based on the manufacturers’ direct prices. ct
For example, Oregon establishes EAC at the manufacturer's direct price for
drugs supplied by the following companies: Abbott “Laboratories, Merck
Sharp and Dohme, Parke Davis and Co., Pfizer Inc., 1.B. Roerig and Co.,
E.R. Squibb and Sons, Inc., The Upjohn Company, Wyeth Laboratories, and
Ross Laboratories. Both Colorado and Oregon had also established state MAC
limits for many drugs not covered bv the Federal MAC program. Colorado
had established MAC limits for 176 drugs, and Oregon had established MAC
limits for 150 drugs.

The table below compares the reimbursement limits established by the six
states for 8 of our sample drugs.

Reimbursement Limits for
Selected Drugs in Six Rewiew States

Percentage
By Which the
High Exceeds

Drugs Ark. Col. Mass. Mich. N.Car. Oreg. the Low Price
Aldomet Tabs
250 me 100's $16.33 $ 15.852’ 12.682! $ 15.059’ s 16.34 $ 12.688! 298,
Artane Tabs b/ b/
2 mg 100's 5.14 1.85- 5.15 5.14 5.14 3.852 1783
Indocin Caps al el! al
25 mg 1000's 239.20 239.25 191.40=° 239.30 246.80" 191. 40- 29%
Motrin Tabs
400 mg 500's 108.25 72.000! 96.558’ 108.30 111 -90o/ 96.558! 55%
‘Periactin Tabs b/ . al
4 mg 100's 15.78 5.952 15,79 15.79 15.79 -12.63= 165%
Thorazine Tabs b/ e/ b/
25 mg 100's 8.70 3.332 8.70 8.70 g.108! 93,752 161%
Vibra Tabs b/ al
100 mg 50's 67.41 53,94> 67.41 67.42 67.41  56.77= 25%
Vistaril Caps
50 mg 500s 149.80 «74.75% 157,102! 143.102! 157,05¢/ 126.152’ 1108

Note: Unless otherwise noted the reimbursement limits shown above were
based on the AWP for the drug product and package size indicated.

a/ The State established its reimbursement limit for this drug based on the
manufacturer's published direct price.

b/ The State established a MAC limit for this drug based on the price of a
generic equivalent drug.

c/ The State established its reimbursement limit for this drug based on the AWP
for the 190 size package.

d/ The State established its reimbursement limit for this drug based on the AWP

for the 1000 size package.

e/ The State established its reimbursement limit for this drug based on the AWP
less 7 percent. , .

f/ The State had not changed its reimbursement limit to reflect the new AWP.

g! The State established its reimbursement limit for this drug based on the

~ manufacturer's published direct price for the 1000 size package.

-T-

HHDO21-0084
:01-cv- 3 . ‘iment-6208-147 Filed 06/29/09 Page 12 of 41
Case din GY ken “tres Ob co arigon. Ch) CARP is the most. frequently used

reimbursement limit for these sample drugs, and (2) the drug reimbursement
limits vary widely between the states using AWP and the states using cost
containment methods. Some of the large variation can be explained by
Massachusetts and Oregon having considered the direct purchase prices in
establishing the FAC for the drug. The larger variations, however, resulted
from Colorado and Oregon having established state MAC limits for the drugs.

In summary, several states have moved away from the sole use of AWP as
their EAC and have established more economical reimbursement limits for some
drugs. However,.many states still use AWP almost exclusively in establishing
their upper reimbursement limits and these states have apparently made rio
effort to establish drug ingredient cost Nmits that approximate the prices
providers generally are paying for drugs. ,

We believe that the findings discussed in the remainder of this report clearly
demonstrate that significant savings can be achieved if states will adopt
procedures for establishing upper reimbursement limits that are more
economical than the use of AWP.

HHD021-0085

(>
CUYD AL Be eg ¢ YU
Case 1:01-cv-12257-PBS

KOVIDERS'* DRUG INGREDIENT. COSTS ARE MUCH LOWER PHAN Lap

Although most of the program expenditures for prescription drugs are based
on the use of published AWP as upper reimbursement limits, our review
showed that pharmacies rarely purchased drugs at AWP. In fact, of the
3,469 drug purchases that we examined in the six states, only 14 purchases
were made at AWP or greater. These 14 purchases were generally made onlv
because of extenuating circumstances, such as special "fill-in" orders where
discounts were not given because only one item was purchased. Most of the
purchases -- 3,455 (99.6 percent) -- were made at prices averaging 15.93
percent below AWP. These drug purchases ranged from as little as 0.23
percent below AWP to as much as 41.78 percent below AWP. The range of
discounts by state are shown in the following table.

Range of
Percentages Below AWP
Low High
Arkansas 245 40.54
Colorado .83 37.36
Massachusetts 6.91 40.70
Michigan 1.61 41.78
North Carolina 1.43 39.18
Oregon 23 37.36

It should be noted that only those purchase and trade discounts that could be
identified to a specific drug purchase were considered, We were not able to
readily determine other types of quantitv, cumulative quantity, or year-end
rebates and discounts which pharmacies may have received. Therefore, it is
possible that the pharmacies’ actual drug costs may have been lower than the
discounted invoice prices. (The potential savings discussed on pages 15 and
16 may also be greater than the amounts we have estimated.)

Our examination of drug purchases showed that neither the location nor size
of the towns in which the pharmacies were located, nor the types of owner-
ship, affected the availability of discounts. Purchase discounts were available
and were taken by pharmacies in all areas of the selected states, regardless
of population, by both chain-owned and independently-owned pharmacies.
Because of the Hmited number of pharmacies reviewed, no attempt was made
to determine whether chain pharmacies received larger discounts than
independent pharmacies. We noted, however, that the type of ownership
made no difference with regard to the purchase and trade discounts received
and reflected on the paid invoice records.

The pharmacies that we visited purchased drugs, either direct from
pharmaceutical manufacturers or from pharmaceutical wholesalers. Of the-
3,455 purchases made at prices below AWP, 1,127 (33 percent) were direct
from manufacturers, and 2,328 (67 percent) were from wholesalers. Direct
purchases resulted in greater discounts; such purchases were generally
priced 17-24 percent below AWP, while wholesale purchases were priced from
10-15 percent below AWP.,

HHDO021-0086
:01-cv- -PBS,,-Dosurmen 0g- Filed 06/29/09 Page 14 of 41 nh
Case 1:01-cv 122A fate Sp Pogume! 14 6 vO g /
PURCHASES DIRECT FROM MANUFACTURERS Ne

Our review showed that drugs are purchased by pharmacies st lower prices
when bought direct from manufacturers. Our examination of 1,127 direct
purchase invoices showed that prices to pharmacies averaged 21.2 percent
below AWP; ranging from as little as 6.3 percent below AWP to as much as

41.8 percent below AWP. Of the 20 drugs in our sample that were available -

to pharmacies direct from the manufacturers, 10 were purchased direct over
50 percent of the time. For example, one of the selected drugs -- Motrin
Tabs, 400 MG -~ was purchased direct from the manufacturer by 82 of the
103 pharmacies which purchased the drug. The remaining 21 pharmacies
purchased the drug from wholesalers. Another drug -- Ativan Tabs 1 MG --
was purchased direct from the manufacturer by 71 of the 98 pharmacies which
purchased the drug. The remaining 27 pharmacies purchased the drug from
wholesalers,

The following table shows some examples of drugs available direct from the
manufacturers, and the percentage of discounts between AWP and the prices
which we identified in our review as most frequently paid by pharmacies.

AWP/Percentage Difference Retween AWP/
Most. Common or Median Price Paid

Drug Ark. Col. Mass. Mich, N.Car, -Qreg.

Clinoril Tabs (awry! $ 43.66
150 mg 100's 21.635, 21.68 21.68 21.68 17.98 21,68
(Paid) - $ 34.232! § 34.23 $34.23 $ 34.23 $ 36°36 $ 34.93

Diabinese Tabs $269.40
250 me 1000's 17.4%, 16.2% 17.5% 17.5% 17.5% 17.53%
$292.59-' $225.88 $222.38 $222.38 $999.38 $222.38

Hydropres 50 $ 16.87
Tabs 100's 21.6%, 21.6% 21.6% 21.6% 15.6% 21.6%
$ 13.23-' $ 13.23 $ 13.23 $ 13.23 $ 14.24 $ 13.23

Inderal Tabs $ 62.70
10 mg 1000's 14.0%, 14.0% 14.0% 13.3% 12.0% 12.63%
: $ 53.95-" $53.95 $ 53.93 $ 54.37 $55.21 $ 54,82

87.10 .
15.8% 15.8% 17.58 10.08 16.7% 15.9%
29

Minipress Caps $
$ 73.312! $ 73.31 $ 71.89 $ 78.41 $72.53 $ 73,

5 mg 250's

1/ The AWP prices for all 5 drugs represent the Bluebook AWP in effect
during June 1983.

2/ Because our review in Arkansas was performed during a different period
the price shown was not paid, but was computed based on percentare
discounts determined during our Arkansas audit.

~ 10 - DUG 4

HHD021-0087

4

Case 1:01-cv-12257-PBS ‘Document 6208-117 Filed 06/29/09 Page 15 of 41 woe

During our review in Arkansas, we noted about 34 high volume drug products
which were available direct from 12 of the larger and better known pharma-
ceutical manufacturers. For the year ended June 30. 1982, program payments
for each of these 34 drugs ranged from $51,000 to $595,000; payments for all
34 amounted to about $6 million or about 28 percent of the $21.4 million in
total drug payments. If the State Medicaid agency had used published direct
prices as the EAC upper limits (instead of AWP), for only these 34 drugs, we
estimate that the savings would have been .about $784,000 ($566,000 Federal
share).

We found that some states have achieved cost savings by basing the EAC for
some of their drugs on available direct manufacturers’ prices, instead of AWP.
For example, Oregon had established the EAC for 18 of our sample drugs at
the available direct price; resulting in a substantially lower EAC for each
than the states using AWP. (See discussion on page 7.)

Our review indicates that drugs which are available direct from the manufac-
turers represent a significant portion of total drug payments. Further, we
found that most of the time pharmacies purchase such drugs direct from the
manufacturers. The large volume of direct purchases is due, in our opinion,
to the favorable price differential. Thus, we believe that, with minimal
effort, substantial savings could be realized under the Medicaid drug program
if State Medicaid agencies were required to use direct manufacturers' prices
as their upper reimbursement limits for all drugs that are available direct
from manufacturers. ,

PURCHASES -FROM WHOLESALERS

The discounts below AWP or list price that were offered by drug wholesalers
to pharmacies were not as large as those offered by drug manufacturers.
However, many drugs are not sold direct and the purchases most frequently
encountered during our review were from wholesalers. As mentioned earlier,
of the 3,455 purchases examined which were made at prices below AWP,
2,328, or 67 percent, were purchased from pharmaceutical wholesalers.-
Discounts received by the purchasing pharmacies averaged about 13.6 percent
below the AWP used by most State Medicaid agencies; ranging from as little as
0.23 percent below AWP to as much as 39.3 percent below AWP.

The following table shows five frequently prescribed drugs purchased from
wholesalers and the percentages of discounts between AWP and the prices
which we identified in our review as the most common or median price paid hy
pharmacies.

-1ll-

O00025

HHD021-0088
Case 1:01-cv-1225EBBS-WocMriens QOL Giled 06/29/09 Page 16 of 41

AWP/Percentage Difference Retween aN
AWP/Most Common or Median Price Paid

Drug Ark. Col. Mass. Mich. N.Car. Oreg,
Dalmane Caps cawP)2! $ 77.55 ,
15 mg 500's 10.7%, 13.3% 12.5% 16.4% 13.7% 16.7%

(Paid) $ 69.25— $ 67.22 $67.87 % 64.81 $ 66.92 $ 64,63
Dyazide Caps $126.70
1000's ’ 13.0%, 15.0% 11.0% 11, 2% 12.0% 10.8%
$110,.23—" $107.74 $112.70 $112.54 $111.54 112,98
Keflex Pulv. $ 50.04
250 mg 100's 12,08, 13.2% 12.0% 12.4% 12.0% 16.7%
$ 44.04— $ 43.43 $ 44.02 $ 43.86 $ 44.04 $ 41,70
Mellaril Tabs $ 13,62
10 mg 100's 10,08, , 13.2% 11.0% 10, 0% 12.0% 10.6%
$ 12.26— $11.82 $ 12.12 $ 12.26 $ 11.99 $ 12.18
Tagamet $ 30.45 .
300 mg 100's 13,08, 13.2% 13.2% 14.7% 12.0% 13.3%

$ 26.492! $ 26.42 $ 27.04 $ 25.96 $ 26.80 $ 26.40

The evidence disclosed during our review indicates that significant savings

can be realized if State Medicaid agencies would base their EAC upper limits —

on the prices generally being paid by pharmacies for wholesale purchases
rather than published AWPs. Such savings are particularly evident through
the analyses of individual drugs. For example, in Arkansas about $358,000
was reimbursed to pharmacies for Dyazide. Our review has shown that a net
savings of about £22,000, cr 6.42 percent, 2/ would have beon possible had
the State Medicaid agency used -- as an upper limit -- an estimate of the
price pharmacies generallv paid for Dyazide, instead of using AWP. Likewise,
about $762,000 was reimbursed to pharmacies for Tagamet. Our review
showed that a net savings of about $80,900, or 10.62 percent, 3/ would have
been possible for Tagamet, had the State agency used as its EAC a realistic
estimate of the price generally paid for the drug bv pharmacies.

1/. The AWP prices for all 5 drugs represent the Bluebook AWP in effect
during June 1983.

2/ Because our review in Arkansas was performed during a different period
the price shown was not paid, but was computed based on percentage
discounts determined during our Arkansas audit.

3/ Net savings after considering the effect of the pharmacies’ usual and

customary charges on the calculation of drug payments. (See page 15
for discussion of UCC effect on drug payments.)

- 12 -

Co

cn

cs
wD
en

HHD021-0089
Case 1:01-cv-12257-PB&; ;Decument 620814 gf iiegpe/29/09 Page 17 of 41

Oe ou
Payments for Tagamet in Arkansas equaled about 3.6 percent of the total
Arkansas drug program. If this same percent of usage occurred nationwide,
about $58 million would have been paid for Tagamet. The actual price paid
for Tagamet in our selected states is about the same as in Arkansas. There-
fore, a net savings of about $6 million may have been possible if all the State
Medicaid agencies had used -- as an upper limit -- an estimate of the prices
pharmacies generally paid for Tagamet, instead of using AWP.

~ 13 -

HHD021-0090
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 18 of 41
Cr

SIGNIFICANT COST SAVINGS ARE POSSIBLE

27%) — Lat
vN

se.

| During our pilot review in Arkansas, we made an extensive examination of the
prices paid by pharmacies for our selected drugs. We found that 2,072
purchases were made at prices averaging 15.74 percent below AWP. Further
review of the prices paid by pharmacies for these drugs in the five additional
states disclosed an almost identical average discount of 15.96 percent below
AWP, We believe that our review has amply demonstrated that the same or
very similar discounts on drug ingredient costs are avuilable and taken bv
pharmacies throughout the country. Therefore, an extrapolation of the
percentage of savings in Arkansas to the nationwide total of Medicaid drug
payments based on AWP should represent a reasonable estimate of the
potential nationwide program savings.

PILOT REVIEW IN ARKANSAS

In Arkansas, our examination of 2,086 purchase invoices on the 38 sampled
drugs at 60 pharmacies throughout the State showed that 2,072, or 99.3
- percent of these purchases, were made at discounts ranging from as little as
0.5 percent below AWP to as much as 40.5 percent below AWP. The average
‘purchase price was 15.74 percent below AWP, —

Based on the prices obtained from pharmacy purchase invoices, we established
price arrays for the most frequently purchased package sizes for each of the
selected drugs. (If one package size was not generally purchased more
frequently than another then more than one price array was established),
From these arrays we selected the most common price or median price that the
pharmacies paid for the particular drug. These prices then served as the
bases for our estimate of the effect of the State Medicaid agency's use of AWP
as the upper limit for drug reimbursement.

Through the use of a computer appiication we recomputed the payments which
would have been made, for the vear ended June 30, 1982, had the State
Medicaid agency used the prices which the 60 pharmacies generallv paid for
the sample drugs, instead of using the A\WP pavment methodology. The
computer application was designed to utilize the State agency's existing drug
reimbursement formula which was based on the Federal formula. All pertinent
information included on the original paid claims was used, except that the
drug prices generally paid by pharmacies, as determined in our review, were
substituted for the State agency's AWP file.

The computer application showed that payments to the 60 pharmacies for the
38 drugs would have amounted to $720,985, instead of the $809,836 paid, had
the State agency established. its EAC upper limits for drug ingredient reim-
bursement at prices that were representative of the amounts which pharmacies
actually paid for the drugs. Thus, for the vear ended June 30, 1982, a
savings of $88,851 (11 percent) would have been possible for the 38 selected
drugs. Based on our extrapolation of this variance to the total Medicaid drug
payments, we estimated that the potential annual program savings in Arkansas
could amount to about $3.3 million ($2.4 million Federal share). (See OIG
Report On Potential For Significant Cost Savings In Medicaid Prescription
Drug Program, Arkansas Department of Human Services, Audit Control
Number 06-40203, Issued December 16, 1983.)

1 050628

HHDO021-0091

\ ~
ro CIS: A-95. 94 30 0
, "Case 1:01-cv-12257-PBS Document Bee Gite 06/29/09 Page 19 of 41
. Because drug sales are competitive, manv pharmacies hill the program for less
- than AWP (for drug ingredient cost) plus the designated dispensing fee.
. Therefore, the Arkansas State agency's consideration of their drug providers’
usual and customarv charges (UCC) -- as required by the Federal reimburse-
ment formula -- has served an important role in limiting drug payments.
Although the pharmacies included in our review purchased drugs at discounts
averaging 15.74 percent below AWP, our review showed that a lower 11
percent savings would have been possible. The difference between the
average 15.74 percent discount and the 11 percent savings is attributable to
the effect of UCC on the calculation of drug payments. For example, if the
pharmacy's UCC was higher than drug ingredient cost plus dispensing fee,
then our calculation received the full benefit of the potential savings. If,
however, UCC was lower than drug cost plus dispensing fee, our calculation
received only partial or none of the potential savings.

As long as UCC is used in the Medicaid reimbursement methodology, we
believe that the competitive factor will help control the cost of prescription
drugs. However, if Arkansas and all other states would base their EAC on
the prices pharmacies generally pay for the drugs, substantial additional
program savings could be realized: The scope of our review did not entail
verification as to whether other states were considering pharmacies’ UCC in
their drug reimbursement svstems. Therefore, if any states are not con-
sidering NCC, our estimate of the nationwide savings potential, as described
below, will be conservative.

NATIONWIDE SAVINGS POSSIRUE

The use of AWP as an upper limit for Medicaid drug reimbursements is a
nationwide problem which is resulting in significant unnecessary program

© expenditures. In order to demonstrate the extent and significance of this
problem, we reviewed drug purchases by pharmacies in five additional states
-- Massachusetts, North Carolina, Michigan, Colorado and Oregon. In the
additional states we examined 1,383 drug purchases in 48 participating phar-~
macies, and found that all of the purchases were made helow AWP. These
drug purchases were made at prices averaging 15.96 percent below AWP; very
close to the average variance of 15.74 percent found in Arkansas.

The impact from the use of AWP on the Medicaid drug program has been

’ substantial. The Medicaid drug program expenditures for the year ended
December 31, 1982, totaled about $1.7 billion nationwide. Our inquiries in 47
states showed that about $1.3 billion, or about 80 percent of these
expenditures were reimbursed under systems with AWP serving as the upper
reimbursement limit. Of the $1.3 billion that was reimbursed using AWP,
approximatelv $735 million (55 percent) was paid in 27 states using AWP
almost exclusively in establishing their FAC. Rased on our analysis in.
Arkansas, as described earlier, we believe that 11 percent, or about
$81 million (Federal share $46 million) of these expenditures were unneces-
sary. The remaining 20 states had expenditures of about $590 million (45
percent) based on AWP; however, these states had alreadv avoided sizeable
excess payments through the use of other cost saving techniques in their
FAC programs. (Examples are discussed on page 7.) As a result, only
about 7.9 percent, or about $47 million (Federal share $26 million) of their
expenditures were estimated as unnecessary.

-~15 -

tree
,

GUORSS

\

HHDO021-0092
Case 1:01-cv-12257-PBS_ Document 6208-11 Filed 06/29/09 Page20o0f41 . -
Cis: feu od oe GOGO? @O ae

In summary, we believe that as much as $128 million ($72 million Federal]
share) in Medicaid expenditures could be saved annually if program Policy
and regulations were revised so as to require states to abandon the AWP
reimbursement methodology in favor of drug pricing systems which would more
closely estimate the prices pharmacies generally pay for. drugs. (See
Schedule 1) .

~ 16 -

HHD021-0093
Case 1:01-cv-12257-PRS Document 6208-11 Filed 06/29/09 Page 21 of 41
NRUG PRICING ASSISTANCE PROVIDEN = =

2

“eS

HCFA has periodically supplied State Medicaid agencies with drug pricing data
designed to assist them in evaluating their EAC limits. States receive the
data from HCFA in a report titled "Price Information for Drug Products --
Invoice Level Prices." (The data has also been made available on machine
readable magnetic tape.) The report shows percentile listings of invoice price
statistics for a sample of frequently prescribed drugs in the largest selling
‘package sizes. The pricing statistics are based on invoice prices received
under contract from some 750 pharmacies located across the continental United
States. The pricing data is -gathered from small, medium and large
pharmacies and is supposed to reflect the drug acquisition costs of those
pharmacies. HCFA officials have surveyed the contract data and have
contended that the 70th percentile of the pricing data (presented in the
reports to the states) is a close approximation of what pharmacists are rou-
tinely paying for drug products. Thus, HCFA officials have suggested that
the 70th percentile prices presented will suit the State Medicaid agencies’
purpose for establishing EAC levels.

Based on our review of the HCFA pricing information for February 1983, we
believe that the data supplied to the states has not contributed to solving the
problem of excessive program payments for prescription drugs. The reports
may have even been counterproductive sincé the amounts furnished have often
been very similar to the AWP for individual drugs. This disparity, in our
opinion, is a result of the method used by HCFA in determining the prices
pharmacies pay for drugs. The statistics gathered by HCFA are based on
drug prices shown on invoices. These prices are generally list prices and do
not reflect anv purchase or trade discounts received when payments are made
by the pharmacies.

The February 1983 RCFA pricing information contained data on 32 of our 36
selected drugs. However, the drug cost data which we obtained from pher-
macies for 19 of the drugs was not comparable to the HCFA data due to price
changes or differences in package size. Comparable data was available for
the remaining 13 drugs.

Using the February 1983 HCFA pricing data, for the 13 drugs we compared
the Blue Book AWP, the HCFA suggested 70th percentile price and the 70th
percentile price obtained for the specific drugs during our review of
pharmacy purchases. (From the prices obtained during our examination of
pharmacy records, we established price arravs for the purchased package
sizes. From these arrays, we selected the price at which or below which 70
percent of the purchases of the specific drug were made.) The results of
our comparison are shown on the following page.

“17 -

HHD021-0094
Case 1:01-cv-1225F ERS Ibo Rirtient SMO OFiled 06/29/09 Page 22 of 41

Comparison of the Bluebook AWP, the HCFA Suggested . \
y

70th Percentile Price, and the 70th Percentile Price per Audit

te

HCFA Suggested Percent 70th Percentile Percent

HHD021-0095

Drug AWP 70th Percentile Variance Price Per Audit Variance
Aldactazide Tabs : .
100's $ 23.75 $ 23.76 ( .04)% $ 21,71 8.59%
Artane Tabs
2 mg 100's 5.14 4.92 4.28% 4.34 . 15.56%
Darvocet N-100
500's , 88,00 88.00 -0- 77.45 11.99%
Diabinese Tabs .
250 mg 1000's 269.40 226.90 15.78% 226.91 15.77%
Dyazide Caps
1000's 126.70 126,80 ( .08)% 112,82 ‘10, 96%
EES 400 Tabs
100's 21.95 19.56 10.89% 16.49 24.87%
Inderal Tabs
10 mg 1000's 62.70 61.20 2.39% 55.04 12, 22%
Keflex Pulv
250 mg 100's 50.04 ~ 50.04 ~0- 44.20 11.67%
Lasix Tabs
80 mg 50's 10.05 10.05 . -0- 8.88 11.64%
Tagamet Tabs ,
300 mg 100's 30.45 30.45 -0- 27.09 11.03%
Vibra Tabs
100 mg 50's 67.41 57.0 15.44% "$6.77 15.783 og
Vistaril Caps
90 mg 10f's 31.40 31.40 -0- 26.54 15.48%
Zvioprim Tabs
3060 mg i100's 23.60 23.00 -o- 20,78 10.60%
‘Our comparison shows that the HCFA suggested 70th percentile price is
not a close approximation of what pharmacies generally pay for drugs and,
thus, would not appear to be of much value to the states in evaluating their
EAC limits. For 8 of the 13 drugs (62 percent), the HCFA furnished 70th
percentile price equaled or exceeded AWP. For the same 8 drugs, however,
the 70th percentile of the purchase prices that we obtained from pharmacies
ranged from 8.59 percent to 15.48 percent below AWP. In two other cases,
the HCFA furnished 70th percentile price was only 2.39 percent and 4.28
percent helow AWP, while our audit 70th percentile price was 12.22 percent
and 15.56 percent below AWP. In onlv 3 cases was the HCFA furnished price
materially below AWP.,
During our review, we noted that the drug price shown on the purchase
invoice from a pharmaceutical wholesaler was generally the non-discounted
published AWP. We also noted that the price shown on an invoice from the
manufacturer was generally the published manufacturer's direct price. In the
above table, the HCFA 70th percentile price for 8 drugs was equal to or

- 18 - oo
ASS
Case 1:01-cv-12257-PBS**Document 620814 iy te d-6/29/09 Page 23 of 41 Cy ~
~ NG Wo J & +

greater than the AWP. In all 8 cases the drugs were purchased from whole-
salers most of the time. On the other hand, the three drugs where the
HCFA price was materially below AWP were frequently purchased direct from
the manufacturers. Thus, it appears that the HCFA furnished 70th percentile
price for drugs that are generally purchased from pharmaceutical wholesalers
is not a close approximation of what pharmacists generally pay for drugs. To
the contrary, the HCFA furnished price is more likely to be AWP itself. On
the other hand, for drugs that are available direct from pharmaceutical.
manufacturers, the HCFA furnishec 70th percentile price is closer to the
prices pharmacies are paving direct to the manufacturers,

During our discussions with officials of the HCFA Pharmaceutical Reimburse-
ment Section, who are responsible for issuing the drug pricing guidance to
the states, we were informed that the pricing data is based on the prices
shown on the pharmacies' invoices and do not reflect any discounts that are
received when payments are made by the pharmacies. We believe that the
way HCFA determines purchase prices is a major factor in why so many of the
suggested 70th percentile prices equal or exceed AWP. Unless the purchase
discounts and trade discounts received by pharmacies when pavment is made
are considered, the prices pharmacies generally are paving for drugs cannot
be reasonably estimated.

Other prior studies have also raised questions about the adequacy of the
drug pricing data furnished to the states by HCFA. A 1979 study 1/
sponsored by a grant from Roche Laboratories, which compared the Redbook
AWP with the HCFA 70th percentile price for 222 drugs, reported that for
over half (119) of the drugs the HCFA price was equal to the AWP. For
another 32 drugs, the HCFA 70th percentile price exceeded the AWP, and for
onlv about a third (71) of the drugs examined was the 70th percentile less
than the AWP. In a report issued by the Comptroller General of the United
States in the latter part of 1989, 2/ the General Accounting Office also con-
cluded that the HCFA suggested "benchmark" prices, designed to help states
establish their EAC limits, were most often near AWP.

1/- "Federal Control of Pharmaceutical Costs, the MAC Experience," report
prepared for Roche Laboratories Division of Hoffman La Roche, Inc.
(May 1979), Jean Paul Gasnon and Raymond Jang, pp. 56-59.

2/ “Programs to Control Prescription Drug Costs Under Medicaid and Medi-
care Could Be Strengthened," HRD-81-36, December 31, 1980.

19 - sreieey.
GOGH?

“a

HHD021-0096
.

:01-cv- - 6208-11 Filed 06/29/09 Page 24 of 41
Case 1:01-cv-12257 Ftp. pocument, e No ‘ 7D
STATES ARE INTERESTED IN POTENTIAL DRUG PROGRAM SAVINGS

Currently, State Medicaid agencies are facing more restrictive budgets than
they have ever encountered before. Because of this, they are actively
seeking cost containment measures in their Medicaid programs. At the time
this report was being drafted, we noted that two states in Region VI were
considering changes to their drug reimbursement systems in order to achieve
program savings. We believe that other states will be interested in moving
away from the use of AWP as an upper reimbursement limit for prescription
drugs, as further information is disseminated regarding the potential for
significant savings.

As discussed on page 14, in December 1983 the OIG issued an audit report
pointing out potential annua} savings of about $3.3 million ($2.4 million
Federal share) in the Arkansas prescription drug program. Recause of
budget deficits, the Arkansas Human Services Department must reduce
Medicaid expenditures bv $6.6 million during the last 4} months of fiscal vear
1984. Along with implementation of other cost-cutting measures, the Director
of the State Medicaid agency has advised the State Wegislature that his
agency will change its current system and base drug reimbursement on the
actual costs paid by pharmacies rather than AWP. He further advised that
this action, which should be done by the end of March 1984, would save an
estimated $1 million during the remainder of the fiscal vear. This action will
be compatible with the findings and recommendations made in the Arkansas
report.

The State of Texas, which has the fifth largest Medicaid drug program in the
country, is also planning changes to its drug reimbursement svstem in order
to achieve program savings. The Texas Department of Human Services!
existing EAC provisions have recognized the difference between the cost of
drugs purchased on a direct basis versus wholesale purchases. The State
agency has achieved savings bv limiting program reimbursement for drugs
available from manufacturers to the manufacturers' direct prices. However,
aoout two-thirds of the State's Medicaid drugs are purchased from wholesalers
and the State agency uses AWP as the upper reimbursement limit for these
drugs. State agency officials believe that further significant savings can be
achieved if they eliminate the use of AWP as an upper reimbursement limit,
and they are currently pursuing a more aggressive definition of EAC for
drugs purchased from wholesalers.

On September 9, 1983, the Commissioner of the Texas Department of Human
Resources submitted written comments to the six questions that are of specific
interest to the Departmental Task Force established by the Secretarv to
review Federal] reimbursement for prescription drugs. Among other comments,
the Commissioner stated that new reimbursement’ policies should be developed
that will move more toward "actual acquisition cost" without the associated
administrative problems. In this regard, the Commissioner stated that his
agency was (1) looking at policies to stress accurate reporting of direct drug
cost information bv drug manufacturers, and (2) examining a policy proposal
to place a cap on reimbursement for drugs purchased wholesale. This cap
would be based on wholesalers’ actual drug costs plus a customary percentage
mark up.

-~ 20 -

HHD021-0097

Case 1:01-cv-12257-PBS" Batdmént 6208-210 Hilda 06/29/09 Page 25 of 41 as

On February 22, members of our staff discussed the Texas State agencv's
plans for future drug reimbursement with the Director of the Medicaid
Prescription Drug Program and his staff. We were told that the Texas Board
of Human Resources has directed the State agency t6 explore alternative drug
reimbursement policies. In this connection, the Program Director and his
staff have decided upon:a tentative plan of action which they believe will lead
to the elimination of "redbook inflation" and allow the State to share in drug
wholesale discounts. The Texas staff plans to obtain manufacturers' prices to
wholesalers (wholesalers' drug. costs) from manufacturers of drugs covered
under the Texas program. The Program Director plans to perform surveys of
selected drug purchases at a sufficient number of pharmacies to arrive at the
customary mark up on wholesalers' drug costs. If the Texas staff is
successful in their current effort, the State's EAC for drugs purchased from
wholesalers would be wholesalers' cost plus a reasonable mark up. Such a
system would probably result in significant savings since it would eliminate
"redbook inflation", as well-as allow the Medicaid program to participate in
wholesale discounts. The key to this system is collection of drug manufac-
turers' prices to wholesalers. The Program Director feels that the State
agency can collect this data. However, the Director suggests that it would
be more logical for the Federal Government (HCFA) to collect this data from
one central point and make the data available to the states for their use in
arriving at improved upper limits for drug reimbursement. We agree with
this logic and believe that HCFA should explore this alternative. We believe
that the Texas State agencv's plans are compatible with the findings in this
report.

~ % -

HHD021-0098
Case 1:01-cv-12257-PB engt,6208- 11. Fil 6/29/09 Page 26 of 41
en RHBE"LE . BYE a
CONCLUSIONS va}

Because HCFA believed that AWP was too high, a primary objective of the
EAC requirement in the Federal regulations was to move the State Medicaid
agencies away from using this source as the basis for establishing upper
reimbursement limits. While some states have led the way in devising cost
containment techniques for reimbursing their drug providers, overall, the
EAC objective has not been met. We believe that the findings presented in
this report demonstrate that the methods used nationwide in determining EAC
have predominately resulted in drug reimbursement limits that are signifi-
cantly higher than the prices pharmacies generallv pay for their drugs.

We do not take issue with the basic reimbursement concept adopted by HCFA
-- i.e., that the program should pay for no more than drug ingredient cost
plus -reasonable dispensing fees designed to cover the providers overhead and
profits. However, pharmacies do not purchase drugs at the AWP published in
the "Bluebook," "Redbook," or similar publications. Thus, AWP cannot he
the best -- or even an adequate -- estimate of the prices providers generally
are paying for drugs. AWP represents a list price and does not reflect
several types of discounts, such as prompt payment discounts, total order
discounts, end-of-year discounts and anv other trade discounts, rebates, or
free goods that do not appear on the pharmacists’ invoices.

The Secretary recently established a special Departmental Task Force to
review Federal reimbursement for prescription drugs. We believe that our
findings, which demonstrate the need for revision of the Medicaid policies and
regulations, are pertinent to the Task Force's study. The revised regu-
lations should eliminate the use of AWP and require State Medicaid agencies to
aggressively pursue alternative methods for establishing upper reimbursement
limits. The methods currently being used by some states to contain drug
reimbursement costs demonstrate that drug pricing methods are available
which will more closely approximate the prices pharmacies generally are
paying for drugs. These "best practices" should be considered by HCFA in
improving the Federal criteria for controlling Medicaid reimbursement for
prescription drugs. HCFA should also improve the guidance furnished State
Medicaid agencies to assist them in evaluating their drug reimbursement
limits.

We believe that our estimated annual savings of $128 million ($72 million
Federal share) will be achievable, once changes in program policy and regu-
lations have been made by HCFA and State Medicaid agencies have had an
opportunity to implement good svstems for arriving at meaningful upper
reimbursement limits for drug ingredient cost.

HHD021-0099
®

Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 27 of 41

RECOMMENDATIONS

”.

(NO yt oko, ~,
Gone? &.-3G- Belo ON x €@ 5

We recommend that the Administrator, HCFA, i

1,

Revise the existing drug¢ reimbursement regulations bv
including more definitive criteria concerning the requirement
for establishment of EAC. In this regard, we recommend that
the regulations he revised to:

a. Inelude language that will preclude the general use
of AWP as the State agencies' “hest estimate of
prices providers generally are paying for drugs."

b. Require that State Medicaid plans include
descriptions of the methods being used to establish
upper reimbursement limits for drug ingredient cost,
and

ec. Require that the State Medicaid agencies provide
assurances to HCFA that the methods used result in
pricing estimates as close as feasible to the prices
generally being naid by the providers.

Issue implementing instructions which will furnish guidance to
the State agencies in establishing acceptable drug
reimbursement limits. The guidelines furnished should include
information on "best practices" used by some states to contain
drug reimbursement.

Work with State agencies in developing alternative drug
reimbursement methodologies which more closely approximate
the prices pharmacies pav for drugs. In this regard, we
suggest that HCFA assist the Texas State agencv in its
current efforts to arrive at reasonable payments for drugs
(See pages 20 and 21). We believe that it may be feasible and
more economical for HCFA to collect data on manufacturers'
prices to wholesalers and furnish such data to all states.
Also, HCFA should assist interested State agencies in efforts
to determine a reasonable mark up on wholesalers' cost.

Review the current system for obtaining and furnishing invoice
level drug pricing data to states for use in evaluating upper
reimbursement limits. If a decision is made to continue
supplving data of this nature to states, the Administrator
should assure that the drug prices collected from pharmacies
and provided to states reflect purchase and trade discounts
received. Collection of manufacturers prices to wholesalers
(wholesalers' cost) may result in data more useful to the States
in arriving at economical reimbursement limits for drugs.

HHANDA AIAN
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 28 of 41

CIN: A-° Ce 9g oy
HCFA RESPONSE AND OIG COMMENTS : \

In a Memorandum dated May 22, 1984 (See Appendix), the Administrator
generally agreed with the findings in this report. “She expressed concerns
about some of our specific recommendations, but agreed that there is an
opportunity to significantly reduce program expenditures in this area. (The
Administrator's primary concerns are addressed below.) The Administrator
also stated that HCFA is not prepared to recommend any changes in the
Federal regulations until the Secretary makes a decision regarding the
findings of the special Task Force appointed to review the existing
prescription drug regulations. While we recognize that the findings and
recommendations of the Secretary's Task Force have not been finalized, we
believe that it is important to note that (1) the present regulations provide
that EAC must be the State agency's best estimate of the price providers
generally are paying for a drug, and (2) our report demonstrates on a
nationwide basis that pharmacies are purchasing drugs at prices considerably
below published AWP. Thus, AWP is not an adequate estimate of the prices
providers generally are paying for drugs. We further believe that our
findings are pertinent to the Task Force's study since they demonstrate that
the existing regulations, which have been in effect since 1978, will need to be
revised in order to restrict the use of AWP as an upper reimbursement limit.
We also believe that HCFA officials can and should move forward at this time
with certain actions which they acknowledge should be taken to provide
greater assistance to the states in improving their controls over Medicaid
drug: reimbursement.

The Administrator felt that our first .recommendation, regarding revision of
the regulations to preclude the general use of AWP, is premature until such
time that HCFA has developed alternative pricing mechanisms. She agreed,
however, that action needs to be taken to provide greater assistance to the
States in the determination of EAC. She advised that such assistance
includes (1) exploring alternative data sources to assist states in determining
acquisition costs, and (2) advising states of the problems of using AWP and
suggesting alternatives to them. For example.AWP might be reduced by a
certain percentage to reflect quantity and trade discounts, not reflected in
Red Book prices.

Our report describes some alternative pricing methodologies that are available
and being used by some states as cost .containment measures. Other
alternatives should be explored, as the Administrator indicates will be done.
However, it is doubtful that the regulations could ever be revised so as to
prescribe a specific pricing mechanism. - Rather, we believe that the
regulations can be revised to include language that will preclude the general
use of AWP as an upper limit for Medicaid reimbursement. We recognize that
AWP may still be appropriate in those limited cases where drugs are
infrequently used and no other pricing data is available. We see no reason
why the regulations could not be revised as soon as possible to significantly
restrict the use of AWP as an upper reimbursement limit and require states
to initiate drug pricing methods which will more closely approximate the prices
pharmacies generally are paying for drugs.

~ 24 -
"" Case 1:01-cv-12257-PBS CHiodr@nt 6208.J1) Fig GPBI29/09 Page 29 of 41

},
The Administrator did not fully agree that the revised regulations would need
to require State plans to include descriptions of the pricing methods used and
State agencies to provide assurances to HCFA that tHe methods used result in
pricing estimates as close as feasible to the prices generally being paid by
the providers. She stated that HCFA does require State plans to reflect MAC
and EAC methodology. She added that requiring assurances from states
appears redundant since each state is charged under the present regulations
with the responsibility of determining its best estimate of the acquisition cost
of each drug. We are concerned that State plans are not specific regarding
the methodology used to arrive at EAC. In addition, assurances by State
agencies have been found to be acceptable and useful.in Medicaid reimburse-
ment for other services (i.e., mursing home services). We believe that these
requirements should be implemented because they would be beneficial to HCFA
in developing an inventory of drug pricing methods being used. and in
evaluating the methods to determine those that are most effective in cost
containment.

With regard to our second recommendation -- that HCFA issue implementing
instructions which will furnish guidance to the State agencies in establishing
acceptable drug reimbursement limits -- the Administrator felt that HCFA had
furnished considerable guidance to the -states on how to implement the EAC
provisions. However, she agreed that there is a need for additiona! direction
in this area and stated that HCFA will take steps to carry out the intention
of this recommendation.

The Administrator concurred with the intent of our third recommendation
concerning HCFA involvement in developing alternative drug reimbursement
methodologies. However, she expressed some concerns about the possible
outcome. The Administrator pointed out that any attempt to obtain actual
drug product costs will be resented by the pharmaceutical industry. She also
stated concern that any reduction in EAC screens by HCFA may well result in
“pressure by the pharmaceutical industry io increase state dispensing fees
accordingly and the net result may be zero. While we can understand the
basis for the Administrator's concerns, our report demonstrates that the
Medicaid program is currently reimbursing pharmacies amounts for drug
ingredient cost that are significantly in excess of the pharmacies’ actual costs
of the drug ingredients -- which is contrary to the intent of the existing
Federal regulations. Further, based on our review, we believe that the

. existing regulations on setting drug dispensing fees (42 CFR 447.333) provide
for sufficient controls and latitude to enable the State agencies to ensure that
they are paying reasonable dispensing fees.

The Administrator agreed with our final recommendation regarding needed
improvements in the drug pricing data that HCFA supplies biannually to
states. She stated that HCFA will explore ways to either refine the existing
system or to develop alternative data bases to better assist states in their
determination of EAC. The Administrator noted that such an effort might
require additional resources and the commitment of sizable funds.

- 25 - PEC ey
IUIUTS

HHD021-0102
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 30 of 41

CIN: A-06- 9. 007q - i}

‘

SCHEDULES

4 i
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 31 of 41

CIN: A06- Oia “OVO +

: ~.

SCHENULE TF ..-

“wr.

SCHEDULE OF PRESCRIPTION DRUG PAYMENTS
AND COMPUTATION OF POTENTIA™ SAVINGS

Total Pavments

"Estimate of Pavments
Rased on AWP

Federal Share

States That Primarily Use
AWP As Rasis For EAC
(See Schedule I1) $ 774,179,859
Percentage Average Savings

(See Page 15 of Report)

Estimated ‘Annual Savings

States That Use AWP
Along With Certain Cost
Containment Measures To
Establish FAC

(See Schedule III) $ 876,913,062
Percentage Average Savings

(See page 15 of report)

Estimated Annual Savings

Total Pavments $1,651,092 ,921

Total Fstimated
Annual Savings

$ 735,470,865

11%

$ 80,901,795

$ 589,895,762

7.9%

$ 46,601,765

$1,325 366,627

$ 127,503,560

$419 486,647

11%

$ 46,143,531

$323,211 ,277

~]
“2
ow

$742,697 ,924

LIEIEINANA NAKA
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 32 of 41

CIN: A06- 9268 ~ 99 3 SCHEDULE I

~

SCHEDULE SHOWING PRESCRIPTION DRUG PAYMENTS
IN STATES WHICH PRIMARIUY ESTABLISH
THEIR REIMBURESMENT LIMITS RASED ON AWP

Estimated
Payments/EAC
State Total Payments - Based on AWP Federal Share
(T)

Arkansas $ 21,887,198 $ 20,792,838 15,004,112
District of Columbia 6,716,802 6,380 ,962 3,190,481
Georgia 48 ,067 ,394 45 ,664 ,024 30,266, b16
Hawaii 6,539,000 6,212,050 3,106,025
Indiana 33,265 ,838 31,602,546 17,928,124
Towa 16,360,475 15 542,451 8,602,747
Louisiana 59,000,290 56,050,276 37,469,610
Michigan 72,000,000 68 ,4009 ,000 34,200,000
Minnesota 29,398 ,047 27,928,145 15,190,118
Nebraska 9,923,974 9,427,775 5,479,423
Nevada 951,914 904,318 45? ,159
New Hampshire 3,549,591 3,372,111 2,003 ,371
New Jersey 57,155,378 54,297,609 27,148 ,805
New Mexico 6,650,801 6,318,261 4,245 ,240
New York 146 ,753 ,000 139,415,350 69,707,675
North Carolina 29 464,226 97,991,015 18,980,707
North Nakota 3,596 ,157 3,416,349 2,036 ,486
Oklahoma 13,570,654 12,892,121 7,723,670
Pennsylvania 94 ,488 ,000 89,763,600 48,966,044
South Carolina 7,881,688 7,487,604 5,319,194
South Dakota 2,827,191 2,685,831 1,810,787
Tennessee 38,376,119 36,457,313 24,984,197
Utah 3,849,100 3,656 ,645 2,509,921
Vermont 4,340,208 4,123,198 2,636,785
Virginia 31,412,893 29,842,248 16,932 ,492
Washington 20,000,000 19,000,900 9,500 ,000
West Virginia 6,153,921 5,846,225 4,092 ,358

. $774,179,859 . $735,470 ,865 $419 ,486 647

(1) Total payments have been reduced by 5 percent to eliminate drug payments
estimated to have been covered by the Federal MAC Hmits. The 5 percent
estimate was arrived at after discussions with Arkansas State agency and
HCFA officials.
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 33 of 41

**

SCHEDULE WT)

US

“N} 27, , gt . tne
why re Be G moo ‘ ‘7 fl u

SCHEDULE SHOWING PRESCRIPTION DRUG PAYMENTS
IN STATES WHICH USE AWP AIONG WITH CERTAIN
COST CONTAINMENT MEASURES IN ESTARLISHING

THEIR REIMBURSEMENT LIMITS

Estimate of pavments

$876 ,913,062

indicated by

State

Medicaid

Estimated
Pavments/EAC
State Total Payments Based on AWP Federal Share
Alabama $ 28,549,751 $ 19,205,418** $ 13,718,430
California 244,397,525 164 ,406,215** 82,203,108
Colorado 15,239,480 4,500 ,000* 2,352,600
Connecticut 19,731,045 7,300 ,487* 3,650,244
Florida 48,793,813 32 ,823,598** 19,346,229
Idaho 2,473,852 1,608 ,000* 1,952,114
Illinois 121,894,500 199,705 ,950* 54,852,525
Kansas 16,206,484 6 ,482,593* 3,403,361
Kentucky 19,195,730 12 ,912,968** 8,774,362
Maine 10,910,005 5,450 ,000* 3,849,335
Massachusetts 51,518,451 45 ,336,237* 24,739,985
Maryland 28,215,503 16 ,929,302* 8,464,651
Mississippi 29,242,903 19 ,671,095** 15,217,559
Missouri 23,480,559 21,133,00N* 12,679,800
Montana 4,006,938 2,695 ,467** 1,761,218
Ohio 76,401,553 45,840, 932* 25,258 ,354
Oregon 12,122,774 9,698,219* 5,121,629
- Rhode Island 9,790,774 4 ,895,387* 2,854,990
Texas 76,348,794 36 ,265,677* 20,218,115
Wisconsin 38,393,528 23 ,036,117* _ 13,692,668
$589 895,762

agency

reimbursed with AWP serving as the upper reimbursement limit.

as being

No estimate was provided by the State Medicaid agency. We determined |
that for other States using a combination of methods for establishing
their EAC an average of 67 percent of total payments was reimbursed
with AWP serving as the reimbursement limit. The estimate shown here
represents 67 percent of total payments, which we believe is a
reasonahle allocation of pavments.

000042

HHD021-0106
Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 34 of4tniy
SCHEDULE lv

GIN: 2 94 2000 ¢d Page 1 of 2

Tee. Cc \
4
SCHEDULE SHOWING NIFFERENCE

BETWEEN AWP AND PRICES GENERALLY PAID
BY PHARMACIES FOR SAMPLE DRUGS IN ARKANSAS

Package Sluebook Price Percentage
Description of Drug Size AWP Generally Paid Difference Difference
Aldactazide Tabs 100s $ 21.18 $ 19.20 - $ 1.98 9.3%

500s «101.80 88.55 13.25 13.0%
1000s ——-198.60 172.90 25.70 12.9%
Aldomet Tabs 250 MG 1000s 144.20 113.102! 31.10 21.6%
Aldoril Tabs 250 MG ~ 1000s «193.00 151. 402/ 41.60 21.5%
Artane Tabs 2 MG 1000s 32.50 26.904! 8.60 17.2%
Ativan 1 MG 500s 14.75 an noe! 14.75 19.7%
Clinoril 150 MA 100s 40.06 31.414/ 8.65 21.6%
Dalmane Caps 15 MG 100s 13.45 2.110 1,24 10.0%
500s 66.25 58.65 7.60 11.5%
Darvocet N-100 Tabs. (500s 76.50 66.60 9.90 12.9%
Diabinese 250 MG 1000s «245.50 207.704! 42.80 17.4%
Dilantin 125 Susp. 240 ML 8 oz. 7.03 5.534! 1.50 21.3%
Donnatal Tabs 1000s 27.40 24.40 3.00 10,93
_ Dyazide Caps 1000s 115.30 100.30 15.00 13.0%
E.E.S. Tabs 400 MG 100s 21.06 15.87 5.19 24.6%
Hydropres Tabs 50 MG 100s 15.00 11.762! 3.94 01.6%
1000s «137.80 108.102! 29.10 21.8%
letin NPH U-100 10 MU 6.92 6.09 83 12.0%
Inderal Tabs 10 MG 1000s 57 00 49.004! - 8.00 14.0%
Indocin Caps 25 MG 1000s 217.70 179,704! 47.00 21.63
Keflex Pulvule 250 MG 100s 45.49 40,03 5.46 12.0%

Lasix Tabs 80 MG 50s 9.15 8.24 91 9.9%

COGS

ds
wale

HHD021-0107
*" — Case 1:01-cv-12257-PBS Document 6208-11 Filed 06/29/09 Page 35 of 41
cm: Ac. 94.00079 - SCITEDULE IV

Page 2? of 2

SCHEDULE SHOWING DIFFERENCE
RETWEEN AWP AND PRICES GENERALLY PAID
BY PHARMACIES FOR SAMPLE DRUGS IN ARKANSAS

Package Bluebook Price Percentage
Nescription of Drug . Size AWP Generally Paid Difference Difference
Maalox Liquid 360 ML 12 02. 2.45 - + 1,762! 169 28.2%
Mellaril Tabs 10 MG_ 190s 12.36 11.12 1.24 10.0%
Minipress Caps 5 MG 250s 79.35 66 R56! 12.50 15.8%
Motrin Tabs 400 MG. 500s 99,80 78.202! 21.60 21.6%
Naprosyn Tabs 250 MG. 500s 173.25 150.70 22.55 13.0%
Orinase Tabs 0.5 GM 1000s. s:142..10 110.604! 30.50 21.6%
Periactin 4 MG 109s 14.00 in ge! 3.02 21.8%
Persantine Tabs 25 MG 100s 12.11 10.90 1.21 10.0%

1000s 114.90 100,00 14.90 13.0%
Slow-K 600 MG 1000s 66.70 56.102! 10.60 15.9%
Stelazine Tabs 10 NG 100s 23.85 21,47 2.38 10.0%
Tagamet Tabs 300 MG . 100s 28.30 94.62 3.68 13.08
Thorazine Tabs 25 MG 100s 6.90 6.21 69 10.0%
Tolinase Tabs 250 MG 200s 54.34. 425g! 11.76 21.6%

1000s 265.20 207.902! 57.30 21.6%
Twin-K Liquid 480 MIL Pint 7.39° 6.67 .72 Q,7%
Valium 5 MG 500s 72,20 63.55 8.65 17.0%
Vibra Tnbs 100 MG 50s 59.92 49.45! 10.47 17,5%
Vistaril Caps 59 MG 1005 28.61 24.10. 4,51 15.8%
Zomax Tabs 100 MG 100s 24.69 99,584! 4.11 16.6%

. %
Zvloprim Tabs 300 MG 100s 23.00 20.70 2.30 10.0%

1/. Most enmmon price or median price paid for drugs purchased direct
~ from the manufacturer. (Most common price or median price paid was
- for drugs purchased from wholesalers unless otherwise indicated.)

GOH d

HHD021-0108
. S912

2 Bete
<y{OL'st ¢ 20°UZ $ SOUL
, 9°12 $9°12
_ T6°0z% 16°02
S 1% j{88°SL $ — ,768°SL $ 08°96 $ SUNS OW 1 Qb_ ueany
° $9°SI %S° LT $5°L1 SE°LL
© os" 06° 06° 68°
a pi'b ¢ pep $ yyeee s Gor $ pies $ SUUT Dig @ S48pL ounjzsy
om
ve: %9° LZ 89° 1% BOIS
65° 9b GS°9p 6S°9p
D “12° 691$ “16° U9L$ =, TLE 6YIS Os'Siz$ = SUOUT
S ) it Nn iN
N S9°LS
s&s U8" Pb
& sper el $ 66°C $ SUUL Ow SZ SUBL IOPLV
DB 9% 49° 1s %9°1S GOS
&  gi'be OIE QL bE YL PE
@ ii ue bels$ pyre vets ppde vels Tbe els Ob" BSIS SUUUI OW USZ SQUL WOPLY
18
© $9° PI 36°6
O6°1E ES°1z
‘e 0S"s8l$ L8°961$ OP 812s SOU!
cS ef
Ue" gee Sb 2l 40° bl
SL bz G6°E1 £8°St
02°88 $ 00°66 $ ZL LG G6°Z11$ SOUS
$2°8 gee]
P61 GI‘E
18°1z $ 09°02 $ GL°Cs $ S001 SYBL apizeyouply
uozaICO Buipois) UAON uBdiyouy $yESNYoussey| opRes0[og dMV BZIS Bnig jo wolpdisosag
BoUusIaj JIC ad¥}Ud01ag pus Av] [Ou /ped sould UBIPeLY 1d MOuUNWwOd HOoqonly adVUydIV”G

y JO 1 dad
A WiUVGsHOS

Case 1:01-cv-12257-PBS¢ ocniry

*.

°

SULVLS HALL UANLO NI SUMO AIdWVS wou
SH]OVWuVid Ati GIVd ATIVUUNAD SHOLUd ANY dV
NUYMLaYd FONE UddAIG ONIMUEIS 2UNGCENHOS

ody

HHD021-0109
SY 1S B9°SGL $9° 12 2971S $9 1%
ae «PYTE 9°? p9°e p9°€ POE .
" eee $ po bl $ eel $ “EG EL $  =,7eeel $ L891 $ = SU0T SquUL yg svddvipall
vt hn iy . it
zc) 39° be %6° SE Z0°1E BU 9E 49°S2
Les - 68° L Ig’g 68°L £9°S .
> BS°9OT $ pp’ rl $ et St $ eu bl $ Z£°OL $ 66°12 $ SGOL OW vdb SUB L VOb Sil
S .
N $8°UL %0°S1 Bo UL Su UL Z0°SI
o GL Et 91° SI 91° PI ou' re 96°81
2 = Bb GETS pS LLT$ bS°Z11$ UL CLES pL LOTS OL 9E1$ SQOOT sduQ opizeaq
oO
0 gptot Se*yl $z° bl S22 1°81
@ e271 [2°1 50" 1 abl pet
Oey 0299 $ 129 $ to $ joes $ guy $ cb $ ‘a OF2 ‘dsng g21 uluelig
QS 35° LI SS° LL SS" LI 5° LL 2°91
ef Z0°LP ZO" LP G0" LP 20° Lb éL°Eeb
eer Z22$ jee" GSe$ ee 2220S ppt ees g9°S2z7$ Vb 69z$ SOOO! DW OSS AVL esourquiq
a $07 OT Zoot $Z°9L Sb el
“ey GLB CS‘ OT _ 22° bt 9L°1T
Key 12°6L $ GbiLL § 1¢ BL°EL F b2Z°9L $ 0o' 88 $ $00S SGBL OUL N-}a00AILG
& LOT SL°El Sb OL $S°ul SE°EL _.
a «G61 £9°UL pL él 89°6 ce Ol
o e9°p9 $ 26°99 $ 18° ba ¢ L8°L9 $ Z2°L9 $ CS’ LL $ SOS Di ST Ssdug auewleg
fC $y9°1s SS LE Z9'°Le %9° 42 BI LS
£b'°6 US*L €b'6 €b'6 €b'6
li ow be $ 91°98 §$ ee pe $ ee Pe $ mee pe $ 99° Sb $ SOOT OW UST GEL [ound
uvdd4() VUL[OLUD UPON UvdIUoy Syasnyoussuy) opvsol[oz) dMV OBZIG Busq jo uopdisosag
sOUdLYs JIC DSU}UIILI puy Avo / ple BOLI d UvLPOLY AO UOUWUOT) Hoogen| yt advnoud

SHLVLS dAld UAHLO NI SONU TidWwVvS UOd
SHLOViWaVHa Ad ulVd ATTUVUEANAD SHOLUd UNV diAV

NAIM Lt AONAUEHALG ONIMOHS AIUaHOS

g jo % aBud
CIMGCAHOS

Case 1:01-cv-12257-PBS Document 62

ay

HHD021-0110
G4 JO BUFY°? Page 38 of 41 __

t

Case 1:01-cv-12257-PBS DOSER

SUSI E0°SL %0° LZ SL 6

6¢° le- _ OL" 1g°
06% $ 86°% $. lé post $ gu°s $ 86 6SS $20 GT pinbiy xofvuyy
BS" LT %9 LI
pL ot 8°91 - :
16°8L $ + €8°8L § G9°S6 $ SQ0S
$9°TT PGI Sb°ST $2 UG
LUT 66° 1 so°l £0°¢
g8°8 §$ ule $ os’s §$ 20-8 $ Sool $ 50S ‘OW 08 SQBL X1Se)
$L°91 0°21 b°Zl 60°%L 2° EL
beg 00's 8t°9 o0°9 19°9
viv Tb $ bO'PP $ 98°th §$ O° PPS Cheb $ po"os $ SOOT Ow 052 “AINd Xelfay
9°12
ees
sist 8 $ LOPS $ S0uT
49°16 B9° LE 69° 1S 9°16
e9°1s —  €9°1S 9° IS €9°Is
pes L81s IT G°L8t$ - yes bets pes 481$ UL BESS SQ00T OW sg Sdeg ulopul
$9°ol R6° LL SE°EL Sub SU° bE
BB" 4b OP's fe°s LL*8 Gu°8
o8° PS $ 1e°Ss $ LE"PS §$ pee &S $ G6°Ls § OL oY $ SUU0L OW OL SGBL [edepuy
66° TI $u"2t $0 "£1 LCL 3671
$8° 16° , 66° 63° 86°
9L°9 $ vL°9 §$ ooo “oL’9 $ t9°9 = $ 19°. $ IW Ol VOI-H ttdN Yell
uodaiq) BULJOLBS) YAO UUdIYyoIy SppOSNyoussupy  Opusojor) dMV G4IS dnag jo uoduosag

BUdIAJJ UT SBVPUsSOIIY PUB ABOU /PlWd FMq UIpayy 4O UOWWOD YHooganiy sdeHoVY .

SULVLS HAlad USHLO NE SONU WldWVvs YOd
SHULOVWWUVEd A GIVd ATIVUYANGD SHOLUd UNV dMV
NYAMLAu FONT udAdTU ONIMOHS BINGHHOS

gy JO ¢ aded
A #INGAHOS

Dt

47

4

00

G

HHDO21-0111
g fo » adug
A SS IGHAHOS

Case 1:01-cv-12257-PBS Docu@iahtS2nn-

SULVLS GAld YAHLO NI SONUU HldWys Yod

SHLOVWUVHd A GIVd AVIVUANEY SHOLtd GNV dav

NYAMLAY CONGUE ONIMOUS GEUUHHOS

5° LE BGS $S°LE 85°12 SG LE
 OPTe OP'e Ube Ube OP't _
(Bere s ~BE'SZE § ~Be2 $ yp8e' el $ sp8e'2t $ BL°SL $ SOOT OW p Suey ulpouitag
Naeem . cy
<) $9°1Z 35° Le
: LS"te 69° ¢P
4 E9121 —1S°Z11$ UZ" SSI$ SQOUT
t i}
So Batts L1G
oD e0' ut - 10" Ll
wo {rs ty $ 1% sys 19 $ GG" BL $ SOUS WO S70 SQu,, dsuuLy
oD .
oO
Oo BO'SL
c6'P
QD gu'9e $ 86°Ub $ ~— SOL
oy /
S Sp Zl %0°ET $0° Pl %L°ET
o: PLP? 46° G6 PG Li bh LZ
2 LO°SLI$ BL ELIS Lg" LLI$ [f° SLI$ GL°G6I$ SQUS OW OSZ Savy ussotdun
=
LL, $9° 1S $0°9F $9° 1% $9°1S $9°(%
ax Zp ES LE“ Lt Zhe Zp ez whee
a jqes' v8 $ 88°06 $ “Bhs $ jpes PBS TER HB S Su 801$ $00 iv OOP SUBL uLtzory
$6°SI1 SL Ot 0° OL $6" LE SB°St
g8°f1 LS*P 69°8 12°ST 6L°EL
Ze°UL $ ES°ZL $ Lb’SL $ j7o8 $ teen $ OL" L8 $ SUSZ Hin ¢ sdug sseadiuipy
59° OL 40°21 $0" OL 40°11 %o7eL
bbl €9'L 96 °1 os*t 08"I
SL°Sl $ 66° $ 92°21 $ Ziel ¢ 78° ll ¢ Zoe $ SOOT OW OL SUUL [LUlopy
U0dd1() BULLOLB7) UJLON UUs Lyd Syjusntorssuy) Opuso[od dV 9ZIg Sate jo uo disosay
VOUDLIJ Jt adv judd1ag pus LU([OQ / pled Bil ef uUBLpoLy Ad uUoWUOY YOOCINTY aduyou gd

4s

OGGD

HHDO21-0112
9 JO ¢ aded

A #INddHOs

SULVLS JAld UIHLO NI SONUG ATdWVS UOd
SHIOVWUVHd AU UIVd AVIVUANED SUOLUd UNV dV
NHaMLAY JONAURHATU ONIMOHS FINUIHOS

LUG BLL
; 1Z°'9 1Z°¢9
‘ . wf? oe AMD a, l~ = {* . wn on + s OL
Son jos’ 82e$ jy SS" 820s UB T6¢$ 00
Samat!
$L°1Z $L°1Z SL [2
P6 "ul v6 °Z1 621
d ~Z8°9p $ 8 °9F $ ~28'9h $ 89694" G6S S$ —-SQNZ OW 0SZ squL aseuljoy
st fl it fi
O 36°6 $021 30°21 30°21
o 93° bO°T _ bO'T bo'T
w r8°L $ 99°L $ Ié 99°L $ 99°L $ OL°8 $ ~ SOOT DW GZ Squy, oulzus0y
oD)
oO
Oey se°EI %0°Z1 $L°¥T $E° UL Soe!
Dp 80°F So's 6b°b 1p £0°P .
Qe Up’9% $ 08°92 $ 96°S2 $ pO LZ $ zpe9] $ «= Spoke $ ~— -SOOt DIN OO€ SUL yowEduy
S© go'st 0°21 SLOT $0°SI $0°UI
OP EL’ BLE 8I°€ 6L°E 6L°E
ZS egg2 ¢ 9L°LZ $ LE°8Z $ 9L°LE $ Q9L°L2 $ §=6SS*TE $ ~— SOUT OW OL SQUL auizajays
== :
LL
SSB IT tp°Zt $6°bI %6°2I
+ 99°B 01°G _ L8°O1 9h°6
ab «WS BO $ O19 $ 12 ££°29 $ pL'€9 $ 02°EL $ ~—- SOOT Old 009 A-MOLS
og
SS .. «B0°SL %6°1I $S°2I %6° EL
= 6b'bl 6E°bT Su"ST BL°9L
2 Li 90T$ 1é°90T$ GS*SOES Ze CUls$ 09°0ZI$ = S000I
3 .
3 $0°€1
0 $9°1
” LOIN $ =o aLZE S$ ~~ SOOT OW SZ SqUL aunuesiag
a uudd1() BUYOIU) UON UBsIydiW Spjasnyoussuy Opuso[oD dMV DZ1g Bnag jo Uol}dLioseg
NM aouatlassiqg edujzusoiag Puy IByjOU/Pleg s0Llg UBIpayy 10 uowwWOn §=yoogen{g oduxyoug
al
N
7
>
2
a
o
a
®o
Y
oO
O

HHD021-0113
‘pied adtud uvipow

«f JO ddd UOWWOD }SOWU DULWAajap 0} aJanbapuuL sosvydind Jo Jaqunu Jo Sasuyoind ON /¢%
"S (°POBIPUL ISIMIBYYO SSajuUN LO[VSO[OUM
, wot) pesuyvind Snip sof sum pied adiid uuipow 420 dd11d UOWWOS Sop) “A4OINyORyNULU
a Bnip ay} wosy yOsdIp pesuyoand s¥nip soy sum pivd adurd uvipaw vo ooerd uowUWOd ysoWy /1
t
Oo $0°OT S0°OT |
= 0£°% oe°?
w OL°0S $ OL°0Z% $ QUES ¥ SOOT
o
& 40°21 $2" EI 85° EI SI EI
Teer 6b° oT 98° PI bP PT

8 ; 8°96 $ 9S°S6 $ 6E°S6 $ 19°S6 $ SO°OIT$ S00S OW 00€ SaeL wridolAz
oO)
SS sgrat $S°ST $5" ol 80° 9L $L°SI
Om 8r°S 98°P BPS To’s €6°h
Se pqe® 8% $ bS°92 $ ye $2 $ 6E°92 $ Lv°92 $ Op Te $ SOOT OW OG Sdeg [welsia
— © .
> gersT $S° LT bo LI 85° LT S°L1
od oo OL° OT BL°IT GL It BL 11 B8L° TI
stag tL°9sS $¢ veg Gs ¢ 69°SS $ 7t9°Ss $ vey cs ¢ Ib°L9 $ SOS - OW OOT SGUL BIqtA
9 x iT 1 it
0ST 3°31 BLE $9°ET
2 S°2t OP OT _ LIL Geil
2 e TUL $ 61°EL $ lz Bt° ZL $ 96°SL $ c9°es $ S00S DW S SQUL univy
og $0°TT $9°E1
a9 - 88" oe —~ > 60°T . .
o lé blob $ lé lz €6°9 $ GU'8 $ “iW U8b PiWbe yp bf. ULL
a uodal() _BULIOUBT) YLON UBB yoty Syjounyousseyy Opesolors diav _ e4tg _, dng Jo uo disosag
nN QUaLIJFICE BAULUGDIIaY{ PUB ABOU /Plwd BIg ULvIpay JO UOWUIO7) YOoGan[Y adsuyoug
A
N
4 SULVLS YAlL YWHHLO NI SUNY 4IdNVS Youd
? SdIOVWUVEd Ad GIVd AUTAVUANHO STOLUd UNV dV
S NaaMLaY AONYUEAaId ONIMOUS BULddkHOsS
od
aH
© 9 jO y vded
0 A SIDUAHOS

aY dy
«

HHD021-0114

(9Bo- 221-3585 4516

GOVERIMENT PRINTING OFFICE:

ws,
